Case 1:20-cv-01469-DLF Document 95 Filed 11/14/20 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Black Lives Matter D.C., et al.

Plaintiff(s)
Case No.: 1:20-cv-01469-DLF

vs.

Donald J. Trump, President of the United States of America, et al.

Defendant(s)
AFFIDAVIT OF SERVICE

I, Vincent Piazza, a Private Process Server, being duly sworn, depose and say:
That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That I have been duly authorized to make service of the Summons and Third Amended Class Action Complaint in the above
entitled case.

That on 11/09/2020 at 9:53 AM, I served Arm Patch Number JD97 a/k/a Officer Jonathan Daniels, U.S. Park Police at 13207 Ithan
Lane, Bowie, Maryland 20715 with the Summons and Third Amended Class Action Complaint by serving Deborah Daniels, wife
of Officer Jonathan Daniels, a person of suitable age and discretion, who stated he/she resides therein.

Deborah Daniels is described herein as:

Gender: Female Race/Skin: Black Age: 45 Weight: 150 Height: 5'5" Hair: Brown Glasses: No

I declare under penalty of perjury that this information is true.

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Executed On Oo] ol Vincent Piazza

 

Client Ref Number:0091224.00016
= Job #: 1582693
[=] =

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

Black Lives Matter D.C. et al.,

Plaintiffs)

V. Civil Action No. 1:20-cv-1469

Donald J. Trump et al.,

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JONATHAN DANIELS a/k/a Arm Patch Number JD97
Officer, U.S. Park Police
1100 Ohio Drive, S.W.
Washington, D.C. 20242

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kaitlin Banner

Washington Lawyers' Committee for Civil Rights and Urban Affairs
700 14th Street, NW, Suite 400
Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D,. CAESAR, CLERK OF COURT

Date: — 10/16/2020 /s/ Erica Garmendez

Signature of Clerk or Deputy Clerk

 
